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                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF INDIANA
                                     NEW ALBANY DIVISION

In re:                                                            )   Chapter 11
                                                                  )
EASTERN LIVESTOCK CO., LLC, et al.,1                              )   Case No. 10-93904-BHL-11
                                                                  )
                           Debtors.                               )   JOINTLY ADMINISTERED

          MOTION PURSUANT TO FED. R. BANKR. P. 9006(c) FOR ORDER
    SETTING APPLICATION TO EMPLOY PHILLIP L. KUNKEL AS MEDIATOR FOR
      HEARING ON JANUARY 13, 2012 ON SHORTENED AND LIMITED NOTICE

                   James A. Knauer, the chapter 11 trustee appointed in this case ("Trustee"), by

counsel, hereby moves the Court for the entry of an order ("Order") setting an expedited hearing

on the Application To Employ Phillip L. Kunkel [Docket No. 940] (the "Employment

Application") and shortening and limiting notice thereon. The relief requested in the

Employment Application has been discussed during previous hearings in this case and is

necessary on an expedited basis to help resolve some claims and disputes in this case and avoid

the cost and delay of continued litigation.

                   In order to maximize the Debtors' estates for the benefit of all creditors, the

Trustee, pursuant to Fed. R. Bankr. P. 9006(c) and Local Bankruptcy Rule B-9006-1, requests

that the Court set the Employment Application for hearing on January 13, 2012. The Trustee

further requests that the Court authorize parties in interest to participate telephonically in the

hearing on the Employment Application.

                   The Trustee will provide notice of the Employment Application, the Order setting

a hearing thereon and the telephonic dial-in number on the date that the Court enters such Order



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     The Debtor entities are Eastern Livestock Co., LLC and Okie Farms, L.L.C.




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by electronic mail through the Court's CM/ECF system (if applicable) and overnight mail or

electronic mail to all parties listed on the attached certificate of service.

                   WHEREFORE, the Trustee respectfully requests that the Court enter an Order (1)

setting the Employment Application for hearing on January 13, 2012, (2) allowing telephonic

participation therein, (3) shortening notice thereon and (4) granting the Trustee such other and

further relief as is just and proper.

                                                     Respectfully submitted,

                                                     By: /s/ Dustin R. DeNeal

James M. Carr (#3128-49)                               Counsel for James A. Knauer, Chapter 11 Trustee
Kevin Toner (#11343-49)
Terry E. Hall (#22041-49)
Harmony Mappes (# 27237-49)
Dustin R. DeNeal (#27535-49)
300 N. Meridian Street, Suite 2700
Indianapolis, IN 46204-1782
Telephone: (317) 237-0300
Facsimile: (317) 237-1000
jim.carr@bakerd.com
kevin.toner@bakerd.com
terry.hall@bakerd.com
harmony.mappes@bakerd.com
dustin.deneal@bakerd.com

Wendy W. Ponader (#14633-49)
600 East 96th Street, Suite 600
Indianapolis, IN 46240
wendy.ponader@bakerd.com


                                   CERTIFICATE OF SERVICE

        I hereby certify that on January 3, 2012, a copy of the foregoing pleading was filed
electronically. Notice of this filing will be sent to the following parties through the Court's
Electronic Case Filing System. Parties may access this filing through the Court's system.
 David L. Abt                           C. R. Bowles, Jr                   John Hunt Lovell
 davidabt@mwt.net                       crb@gdm.com                        john@lovell-law.net

 Mark A. Robinson                       Jeffrey R. Erler                   Edward M King
 mrobinson@vhrlaw.com                   jeffe@bellnunnally.com             tking@fbtlaw.com



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 Randall D. LaTour                 John R. Carr, III                     Bret S. Clement
 rdlatour@vorys.com                jrciii@acs-law.com                    bclement@acs-law.com

 Daniel J. Donnellon               Stephen A. Weigand                    John Frederick Massouh
 ddonnellon@ficlaw.com             sweigand@ficlaw.com                   john.massouh@sprouselaw.com

 John W. Ames                      Robert Hughes Foree                   Kim Martin Lewis
 jwa@gdm.com                       robertforee@bellsouth.net             kim.lewis@dinslaw.com

 Jeremy S Rogers                   Ivana B. Shallcross                   Deborah Caruso
 Jeremy.Rogers@dinslaw.com         ibs@gdm.com                           dcaruso@daleeke.com

 Meredith R. Thomas                William Robert Meyer, II              Allen Morris
 mthomas@daleeke.com               rmeyer@stites.com                     amorris@stites.com

 Charles R. Wharton                James Bryan Johnston                  James T. Young
 Charles.R.Wharton@usdoj.gov       bjtexas59@hotmail.com                 james@rubin-levin.net

 David L. LeBas                    Judy Hamilton Morse                   John M. Thompson
 dlebas@namanhowell.com            judy.morse@crowedunlevy.com           john.thompson@crowedunlevy.com

 Jessica E. Yates                  John Huffaker                         Matthew J. Ochs
 jyates@swlaw.com                  john.huffaker@sprouselaw.com          matt.ochs@moyewhite.com

 Laura Day Delcotto                Kelly Greene McConnell                T. Kent Barber
 ldelcotto@dlgfirm.com             lisahughes@givenspursley.com          kbarber@dlgfirm.com

 Ross A. Plourde                   Walter Scott Newbern                  Kirk Crutcher
 ross.plourde@mcafeetaft.com       wsnewbern@msn.com                     kcrutcher@mcs-law.com

 Todd J. Johnston                  Timothy T. Pridmore                   Theodore A Konstantinopoulos
 tjohnston@mcjllp.com              tpridmore@mcjllp.com                  ndohbky@jbandr.com

 Karen L. Lobring                  Sandra D. Freeburger                  Lisa Koch Bryant
 lobring@msn.com                   sfreeburger@dsf-atty.com              courtmail@fbhlaw.net

 Elliott D. Levin                  John M. Rogers                        John David Hoover
 edl@rubin-levin.net               johnr@rubin-levin.net                 jdhoover@hooverhull.com

 Sean T. White                     Robert H. Foree                       Sarah Stites Fanzini
 swhite@hooverhull.com             robertforee@bellsouth.net             sfanzini@hopperblackwell.com

 Michael W. McClain                William E Smith                       Susan K. Roberts
 mike@kentuckytrial.com            wsmith@k-glaw.com                     skr@stuartlaw.com

 James Edwin McGhee                Thomas C Scherer                      David A. Laird
 mcghee@derbycitylaw.com           tscherer@binghammchale.com            david.laird@moyewhite.com

 Jerald I. Ancel                   Jeffrey J. Graham                     Trevor L. Earl
 jancel@taftlaw.com                jgraham@taftlaw.com                   tearl@rwsvlaw.com

 David Alan Domina                 Kent A Britt                          Joshua N. Stine
 dad@dominalaw.com                 kabritt@vorys.com                     jnstine@vorys.com

 Jill Zengler Julian               Jeffrey L Hunter                      Amelia Martin Adams
 Jill.Julian@usdoj.gov             jeff.hunter@usdoj.gov                 aadams@dlgfirm.com

 Michael Wayne Oyler               Jason W. Cottrell                     Robert A. Bell
 moyler@rwsvlaw.com                jwc@stuartlaw.com                     rabell@vorys.com

 James E. Rossow                   James B. Lind                         Melissa S. Giberson
 jim@rubin-levin.net               jblind@vorys.com                      msgiberson@vorys.com

 Steven A. Brehm                   Anthony G. Raluy                      Christopher E. Baker
 sab@gdm.com                       traluy@fbhlaw.net                     cbaker@hklawfirm.com

 James M. Carr                     Jack S. Dawson                        Dustin R. DeNeal
 james.carr@bakerd.com             jdawson@millerdollarhide.com          dustin.deneal@bakerd.com




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 Shawna M. Eikenberry               Terry E. Hall                         Jay Jaffe
 shawna.eikenberry@bakerd.com       terry.hall@bakerd.com                 jay.jaffe@bakerd.com

 James A. Knauer                    Erick P. Knoblock                     Harmony A. Mappes
 jak@kgrlaw.com                     eknoblock@daleeke.com                 harmony.mappes@bakerd.com

 Christie A. Moore                  Shiv Ghuman O'Neill                   Wendy W. Ponader
 cm@gdm.com                         shiv.oneill@bakerd.com                wendy.ponader@bakerd.com

 Jeffrey E. Ramsey                  Eric C. Redman                        Joe T. Roberts
 jramsey@hopperblackwell.com        ksmith@redmanludwig.com               jratty@windstream.net

 Joseph H. Rogers                   James E. Smith                        Robert K. Stanley
 jrogers@millerdollarhide.com       jsmith@smithakins.com                 robert.stanley@bakerd.com

 Andrew D. Stosberg                 Kevin M. Toner                        U.S. Trustee
 astosberg@lloydmc.com              kevin.toner@bakerd.com                ustpregion10.in.ecf@usdoj.gov

 Andrea L. Wasson
 andreawassonatty@gmail.com



               I further certify that on January 3, 2012, a copy of the foregoing pleading was
served via electronic mail transmission on the following:
 Ashley S. Rusher                   Darla J. Gabbitas
 asr@blancolaw.com                  darla.gabbitas@moyewhite.com



                                                /s/ Dustin R. DeNeal




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